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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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IVAN ANTONYUK, et al.,

                                   Plaintiffs,

                 -against-                                             Case No. 22 Civ. 986 (GTS) (CFH)

KATHLEEN HOCHUL, in her official capacity as                           NOTICE OF APPEARANCE
Governor of the State of New York, et al.

                                    Defendants.
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         PLEASE TAKE NOTICE that JAMES M. THOMPSON, Special Counsel for Second

Amendment Litigation in the Office of LETITIA JAMES, Attorney General of the State of New

York, certifies that he is admitted to practice before this Court and hereby appears as counsel of

record for Defendants KATHLEEN HOCHUL, KEVIN P. BRUEN, and MATTHEW J.

DORAN, in their official capacities, in the above-referenced action.


Dated:     New York, New York
           September 26, 2022
                                                           LETITIA JAMES
                                                           Attorney General of the State of New York
                                                           Attorney for the State Defendants


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